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    9                              UNITED STATES DISTRICT COURT
   10                            CENTRAL DISTRICT OF CALIFORNIA
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        JENALE NIELSEN, individually and on behalf        Case No.: 8:21-cv-02055-DOC-ADS
   12   of others similarly situated,
                                                          [PROPOSED] ORDER RE
   13                          Plaintiff,                 APPLICATION FOR A TRIAL
                                                          CONTINUANCE AND JOINT
   14                  vs.                                STIPULATION REGARDING SAME
   15   WALT DISNEY PARKS AND RESORTS                     Judge: Hon. David O. Carter
        U.S., Inc., a Florida Corporation, and DOES 1
   16   through 10, inclusive,
   17                          Defendants.
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         [PROPOSED] ORDER RE APPLICATION FOR A TRIAL CONTINUANCE AND JOINT STIPULATION REGARDING SAME
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    1          Now before the Court is the Parties’ Application For A Trial Continuance And Joint

    2 Stipulation Regarding Same. The Court, having considered the Application and Joint Stipulation
    3 and for good cause shown, HEREBY ORDERS that the Scheduling Order in this Case shall be
    4 modified as follows:
    5
                      Event                                       New Date
    6
                      Class certification motion filing date      4/24/2023
    7
                      Class certification opposition date         5/31/2023
    8
    9                 Class certification reply brief date        7/7/2023

   10                 Class certification hearing                 7/28/2023

   11                 Discovery Cutoff                            4/4/2023
   12                 Dispositive Motions                         9/1/2023
   13
                      Final Pretrial Conference                   10/2/2023
   14
                      Trial                                       10/16/2023
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   17 Dated:
                                                               Honorable David O. Carter
   18                                                          U.S. District Judge

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          [PROPOSED] ORDER RE APPLICATION FOR A TRIAL CONTINUANCE AND JOINT STIPULATION REGARDING SAME
